                                                                          The Minnich Group LLC
                                                                          Construction Consulting

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Re: Roumann v. T.V. John

As requested, I have revised my prior profit calculations to exclude profit erosion related to suspect
project management skills. I added a “strike-through” at the removed line items and re-calculated a
total of the remaining items in each reviewed project.

Jeffersonville Project Profitability
Net Profit Calculation

    Profit per Cost Report Detail Excel 4/4/19              $ 136,843
    Remove Roumann Commission from project cost                66,874
    Remove MWH Legal Fees from project cost                     6,264
    Remove President Hours                                     13,242
    Remove Admin/Assistant Hours                               17,935
    Restore Credits on Deductive Changes (1/4/18 CO List)      38,624
    Add CO amount for Steel Contractor replacement             95,000
    Add CO amount for Masonry Contractor replacement           32,000
    Add CO for Winter Conditions/Stone Base Issue              20,229
    Add General Conditions CO identified during Start Delay    81,808
    Remove GC costs during schedule overrun                    54,011
    Pending Replacement Contractor CO minus Steel/Masonry 277,289

                                Net Realized Profit            $279,782

West Lafayette Project Profitability
Net Profit Calculation

      Profit per Cost Report Detail Excel 3/22/19       $ 387,449
      Remove Roumann Commission from project cost         244,073
      Remove MWH Legal Fees from project cost              25,056
      Remove President Hours                               21,212
      Remove Admin/Assistant Hours                         23,219
      Carpentry and Painting Subcontractor Mismanagement 209,524
      Pending Change Orders – 23 pending approval         211,977

                Net Realized Profit     $                       701,009




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Indianapolis Project Profitability
Net Profit Calculation

      Profit per Cost Report Detail Excel 3/22/19             $ 442,075
      Remove Roumann Commission from project cost               189,271
      Remove President Hours                                      7,908
      Remove Admin/Assistant Hours                               16,160
      Extended GC Change Order Adjustment                        90,872

                                Net Realized Profit           $ 655,414

Fuel Center - Flushing
Net Profit Calculation

      Profit per Cost Report Detail Excel 3/22/19             $    91,996
      Remove Roumann Commission from project cost                  19,604
      Remove President Hours                                        3,292

                Net Realized Profit     $                         114,892


Comments:

Jefferson
I did not remove item “Restore Credits on Deductive Changes” since that is an accounting
error correction and not a project management issue.

West Lafayette
I removed the amount for “Pending Change Orders”. I understood those items had been submitted at
the time of my report but were still in progress and not yet approved. An updated change order log
should be reviewed to determine commission on any changes approved after the date of the original
reports.

My opinions are based on my experience, the evidence I reviewed, and information known at the time of
this report. My opinions are to a reasonable degree of certainty. I reserve the opportunity to restate or
amplify my positions if additional documents are received or other information becomes available.




George C. Minnich



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